
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-03-007-CV

DARREN MICHAEL HEIZER	APPELLANT





V.



GAYLE HEIZER AND ON BEHALF 						APPELLEES

OF CAMERON QUINTON HEIZER 

AND ALEX KOLBE HEIZER, 

MINOR CHILDREN



----------

FROM THE 16
TH
 DISTRICT COURT OF DENTON 
COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

On March 24, 2003, we notified appellant that its brief had not been filed as required by T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: May 15, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




